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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-389-CNS-GPG

   ST. PAUL FIRE AND MARINE INSURANCE COMPANY, a Connecticut corporation,

          Plaintiff,

   v.

   PAUL B. JONES; and
   WOMEN’S HEALTH CARE OF WESTERN COLORADO, PC, formally known as
   ROBERT HACKETT, LOUIS IRVIN, STEPHEN MESCHAM, PAUL JONES, MECHAM
   & JONES, PARTNERSHIP & GYNECOLOGICAL ASSOCIATION, formally known as
   ROBERT HACKETT, STEPHEN MEACHAM, PAUL JONE, MEACHAM & JONES
   PARTNERSHIP & GYNECOLOGICAL ASSOCIATION,

          Defendants.


        DEFENDANT WOMEN’S HEALTH CARE OF WESTERN COLORADO, PC’S
                     NOTICE OF BANKRUPTCY FILING


          Defendant, Women’s Health Care of Western Colorado, PC (“WHWC”), by and through

   its attorneys, Jeremy A. Sitcoff of LEVIN SITCOFF WANEKA PC, submits the following Notice of

   Bankruptcy Filing:

          On September 30, 2022, Defendant WHWC filed a voluntary petition for bankruptcy

   protection under chapter 7 of the Bankruptcy Code with the U.S. Bankruptcy Court for the District

   of Colorado, which has been designated as Case No. 22-13791.

          Pursuant to section 362(a) of the Bankruptcy Code, the filing of a bankruptcy petition

   “operates as a stay, applicable to all entities,” of “the commencement or continuation, including

   the issuance or employment of process, of a judicial, administrative, or other action or proceeding

   against the debtor that was or could have been commenced before the commencement of the case
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   under [the Bankruptcy Code], or to recover a claim against the debtor that arose before the

   commencement of the [bankruptcy] case.” 11 U.S.C. § 362(a)(1). Accordingly, the above-

   captioned matter has been automatically stayed as to Defendant WHWC.

         Dated this 30th day of September, 2022.

                                             Respectfully submitted,

                                             LEVIN SITCOFF WANEKA PC

                                             s/ Jeremy A. Sitcoff
                                             Jeremy A. Sitcoff
                                             1512 Larimer Street, Suite 650
                                             Denver, Colorado 80202
                                             (303) 575-9390
                                             jeremy@lsw-legal.com
                                             Counsel for Defendant Women’s Health Care of
                                             Western Colorado, PC




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 30, 2022, I electronically filed the foregoing
   DEFENDANT WOMEN’S HEALTH CARE OF WESTERN COLORADO, PC’S NOTICE
   OF BANKRUPTCY FILING with the Clerk of the Court using CM/ECF system, which will
   send notification of such filing to the following email address:

   Evan Bennett Stephenson
   Nathaniel Barker
   Spencer Fane LLP
   1700 Lincoln Street, Suite 2000
   Denver, CO 80203
   estephenson@spencerfance.com
   Attorneys for Plaintiff St. Paul Fire and
   Marine Insurance Company

   Barrett Weisz
   BARRETT WEISZ, LLC
   900 Arapahoe Avenue
   Boulder, CO 80302
   weiszllc@gmail.com
   Attorney for Defendant Paul B. Jones, M.D.

                                                s/ Nicole R. Peterson
                                                Nicole R. Peterson




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